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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                Plaintiffs                      No. 1:21-cv-02130-CJN

      v.

HERRING NETWORKS, INC., et al.,                 Judge Carl J. Nichols

                Defendants


                                   EXHIBIT INDEX

A     Dr. Coomer’s Statement of Facts and Conclusions of Law in Coomer Action, Filing ID
      18E3B7708C609.

B     June 21, 2021 Order denying dismissal in Coomer Action




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